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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


       UNITED STATES OF AMERICA                  )
                                                 )
       v.                                        )      CASE NO. 1:20-cr-00278-TNM
                                                 )
       KEITH BERMAN,                             )
                     Defendant.                  )


                                    REDACTED EXHIBITS

       Per the Court’s March 21, 2023 Order, attached are the exhibits to the government’s

Motion to Revoke Defendant’s Bond (ECF 112) with the redactions agreed upon by the parties.

                                                        Respectfully submitted,

                                                        GLENN S. LEON
                                                        Chief, Fraud Section
                                                        Criminal Division

                                                 By:           //s//
                                                        Christopher Fenton
                                                        Kate T. McCarthy
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        Case 1:20-cr-00278-TNM Document 115 Filed 03/28/23 Page 2 of 2




                                CERTIFICATE OF SERVICE

             I HEREBY CERTIFY that on March 28, 2023, I electronically filed the foregoing

document with the Clerk of Court using CM/ECF.




                                                 /s/ Kate T. McCarthy
                                                 Kate T. McCarthy
                                                 Trial Attorney
